964 F.2d 1146
    Nortonv.Tallahassee Memorial
    NO. 87-3217
    United States Court of Appeals,Eleventh Circuit.
    May 29, 1992
    
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      Appeal From:  N.D.Fla.
    
    
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      AFFIRMED IN PART, REVERSED IN PART.
    
    
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      Federal Reporter. The Eleventh Circuit provides by rule that
    
    
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      unpublished opinions are not considered binding precedent.
    
    
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      They may be cited as persuasive authority, provided that a
    
    
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      copy of the unpublished opinion is attached to or
    
    
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      incorporated within the brief, petition or motion.  Eleventh
    
    Circuit Rules, Rule 36-2, 28 U.S.C.A.)
    